Case: 23-20483        Document: 86-1       Page: 1     Date Filed: 08/22/2024




         United States Court of Appeals
              for the Fifth Circuit                                 United States Court of Appeals
                                                                             Fifth Circuit


                              ____________                                 FILED
                                                                     August 22, 2024
                               No. 23-20483                           Lyle W. Cayce
                              ____________                                 Clerk

United States of America,

                                                            Plaintiff—Appellee,

                                     versus

Richard Plezia,

                                         Defendant—Appellant.
                ______________________________

                Appeal from the United States District Court
                    for the Southern District of Texas
                         USDC No. 4:19-CR-450-5
                ______________________________

Before Higginbotham, Stewart, and Higginson, Circuit Judges.
Carl E. Stewart, Circuit Judge:
       Richard Plezia (“Plezia”) challenges his convictions of conspiracy to
defraud the United States, making false statements, and falsification of
records in a federal investigation following a fifteen-day jury trial. He
challenges the sufficiency of the evidence for some of the convictions, the
district court’s determination that the statute of limitations for one count of
making false statements was equitably tolled, and the district court’s decision
to allow two witnesses to testify with the aid of prior recorded recollections.
Because we agree with Plezia that equitable tolling of the statute of limitations
in 18 U.S.C. § 3282 is not available, we VACATE Plezia’s conviction under
Case: 23-20483        Document: 86-1       Page: 2    Date Filed: 08/22/2024




                                 No. 23-20483


Count Five and remand with instructions to dismiss Count Five with
prejudice. However, the panel’s agreement with Plezia ends there. With
respect to every other assignment of error, we AFFIRM.
                       I. Factual Background
       Plezia was a Houston-based personal injury attorney charged with
conspiracy to defraud the United States through falsified reporting on tax
returns to the Internal Revenue Service (“IRS”). The alleged falsified gains
arise from barratry, the impermissible practice of attorneys soliciting clients
that have not invited any contact with prospective counsel. The Government
averred that Plezia conspired with a group of personal-injury attorneys and
non-attorney case runners (“case runners”) in Houston, Texas to unlawfully
reduce the federal income taxes owed by Jeffrey Stern (“Stern”). The case
runners were alleged to solicit clients for Stern—in violation of the Texas
Penal Code and the Texas Disciplinary Rules of Professional Conduct
(“TDRPC”). The charging instrument set out that Plezia worked with case
runner Marcus Esquivel (“Esquivel”) to aid Stern in reducing the income
taxes he owed from 2011 through 2013. It alleged that Stern “funneled”
illegal payments for soliciting and “running” cases to Esquivel by writing
checks to Plezia—who subsequently wrote corresponding checks out to
Esquivel’s business entities. Stern would then deduct the amounts paid to
Plezia as attorney “referral fees.”
       A. The Indictments and Pretrial Proceedings
       In August 2019, Stern was arrested and charged with conspiracy to
commit fraud against the United States, willfully filing a false tax return, and
obstruction of justice. Stern pleaded guilty to the first two counts and agreed
to pay over $4.35 million in restitution to the IRS and cooperate with the
prosecution and investigation of other attorneys involved in the scheme. On
August 6, 2019, the grand jury indicted Plezia on one count of conspiracy to




                                       2
Case: 23-20483        Document: 86-1        Page: 3    Date Filed: 08/22/2024




                                  No. 23-20483


defraud the United States in violation of 18 U.S.C. § 371 (“Count One”). On
January 18, 2022, the grand jury returned a Third Superseding Indictment
adding two counts of making false statements to IRS agents in violation of 18
U.S.C. § 1001(a)(2) (“Counts Five and Six”) and one count of falsifying
records in violation of 18 U.S.C. § 1519 (“Count Seven”).
       Count One’s allegations against Plezia are limited to his participation
in redirecting checks to Esquivel. Count Five sets out that Plezia falsely told
an IRS agent in Houston in December 2016 that he had never paid Esquivel
any referral fees for clients in violation of the Texas bar rules. Count Six avers
that Plezia made another materially false statement to IRS agents in
September 2018 when he averred that any payments between him, Esquivel,
and Stern were provided solely for the purpose of financing his ongoing
benzene exposure toxic tort litigation against BP. Lastly, in Count Seven, the
Government alleged that Plezia created a false document supporting or
tracking the false statement he made in Count Six with the intent to impede
a federal investigation under the jurisdiction of the IRS.
       Plezia pleaded not guilty to all charges and proceeded to a jury trial on
January 9, 2023. He moved to dismiss the entirety of the Third Superseding
Indictment    for   constitutional    violations.   Plezia   argued    that   the
Government’s delay in prosecuting all charges violated his Fifth and Sixth
Amendment rights. He also filed a separate motion to dismiss Count Five as
barred by the five-year statute of limitations in 18 U.S.C. § 3282 because it
was filed over five years after the alleged false statement was made. He
asserted that Count Five was filed five years and forty-two days after the
alleged false statement was made even though the Government had all
relevant information to charge him with that offense for at least three years
before the Third Superseding Indictment. The Government opposed both
motions and argued that the statute of limitations had been tolled due to the
delays arising from its compliance with the district court’s COVID orders



                                        3
Case: 23-20483       Document: 86-1       Page: 4    Date Filed: 08/22/2024




                                 No. 23-20483


and from delays in processing Justice Department approvals during the
pandemic. It further argued that the discovery of evidence of Plezia’s
involvement in Stern’s scheme was hindered by COVID delays related to
several steps of the investigation which prompted the addition of Count Five.
       In April 2022, the district court held a pretrial hearing to address
Plezia’s motions to dismiss the indictment. With respect to his motion to
dismiss the entire indictment, Plezia argued that he was prejudiced by the
delay. The Government countered that it had adequately apprised Plezia of
the charges against him at an April 2021 reverse proffer meeting. The
Government attributed the delay in action between April 2021 and January
2022 to delays in seeking approval from the Department of Justice, Tax
Division for the newly added charges in the indictment and a warrant to
search Plezia’s computer. The Government filed the indictment before fully
analyzing the materials retrieved from Plezia’s computer. The district court
denied the motion because it did not “believe that the defendant has shown
either that the [G]overnment acted for the bad purpose of gaining a tactical
advantage” or “some other bad-faith purpose.”
       On his motion to dismiss Count Five due to the statute of limitations,
Plezia asserted that the district court could not relax congressionally
mandated statutes of limitations, even during the COVID-19 pandemic. He
further argued that the Government also failed to act with the due diligence
required to receive the benefit of equitable tolling. The Government
contended that it relied on the district court’s COVID-related orders tolling
the statute of limitations. It further elaborated that, while COVID did not
delay the Tax Division’s approval of certain actions, it did delay the
Government’s debriefing of Stern which then provided the evidence that tied
Plezia’s conduct to the newly added charge in Count Five. The district court
acknowledged the difficulty of analyzing the statute of limitations issue,
noting that “[t]here is surprisingly scant case law on it.” The district court



                                      4
Case: 23-20483        Document: 86-1       Page: 5     Date Filed: 08/22/2024




                                  No. 23-20483


then denied the motion to dismiss Count Five because Plezia was apprised of
the charges against him as early as April 2021.
       B. The Trial
       Trial began on January 9, 2023, and took place over four weeks with
over thirty witnesses testifying. The prosecution opened its case by detailing
how Stern adjusted the financing of his legal practice following an audit in
2010—allegedly by disguising payments to case runners by funneling
payments through other attorneys and deducting those payments as referral
fees on his tax returns. It averred that some attorneys implicated in Stern’s
scheme had no knowledge of this process and that some case runners would
forge those attorneys’ signatures before cashing the checks. On the other
hand, some attorneys knew that they were receiving money from Stern to
execute a kickback payment to a case runner, often also partaking in
deducting any payments as referral fees or fees for other services. The
Government argued that Plezia fell into the latter category of attorneys
implicated in this underreporting scheme.
       The prosecution called several witnesses during its case in chief. It
first called IRS agent Loc Nguyen (“Nguyen”) to testify about the
investigation into Stern’s law firm and properties from 2011 to 2013. Nguyen
detailed the Stern’s method of writing Plezia checks during that period,
recording those funds as attorney referral fees in his business records, and
then deducting those amounts from his taxable income. He stated that
Stern’s 2012 law firm ledgers indicated referral fee payments to Plezia in
several large amounts. He noted that these types of fees are ordinarily
claimed as deductions on a company’s tax return and reduce the total tax
liability. He further testified that Stern generated a 1099 tax form for referral
fees paid to Plezia to document the payments, and in 2013, the amount
totaled $143,000 in non-employee compensation to Plezia. Nguyen




                                       5
Case: 23-20483        Document: 86-1       Page: 6    Date Filed: 08/22/2024




                                 No. 23-20483


maintained that Plezia’s own accounting showed that Plezia would promptly
issue a check redirecting funds received from Stern to Esquivel or his
business entities from early 2011 to early 2013. He determined that Plezia’s
payments to Esquivel from 2011 to 2013 totaled over $500,000.
       Stern then took the stand. Stern testified that he used case runners for
a period of ten years—most frequently working with Esquivel, Fred Morris
(“Morris”), and Lamont Ratcliff (“Ratcliff”)—to solicit personal-injury
clients. He further contended that he dealt with each case runner separately,
never involving the case runners in each other’s activities. He averred that
he would pay his case runners about $1 million a year collectively and opted
to disguise the payments by issuing checks to their closely held businesses or
by redirecting the funds through another lawyer to give the appearance of a
permissible referral fee amongst attorneys. He acknowledged that the
disguised payments through other attorneys could easily be employed as
deductible business expenses. He further testified that he knew that the use
of paid case runners was illegal and prohibited by the professional conduct
rules of the Texas State Bar. He admitted that he knew that the ethics rules
only permitted the payment of referral fees to other attorneys for referring
clients, and that the payment of referral fees to non-attorneys is categorically
prohibited.
       Stern asserted that he began paying Esquivel purportedly for
advertising services for his law firm to conceal the case running payments.
He stated that he purchased many cases from Esquivel over the course of two
decades and would often pay Esquivel a set amount up front in addition to
twenty percent of the attorney’s fee exacted when the case resolved. He
averred that following his audit in early 2011, he and Esquivel agreed to alter
the method of concealing payments for case running services by funneling
payments through Plezia. He further testified that Esquivel was also working
for Plezia at the time. Stern further stated that at the time he began using



                                       6
Case: 23-20483        Document: 86-1       Page: 7    Date Filed: 08/22/2024




                                 No. 23-20483


Plezia as a funnel, he had limited dealings with him. Stern stated that he never
discussed the payment arrangement with Plezia because Esquivel told him
that they would handle it privately.
       Stern testified that Esquivel kept a ledger detailing the cases he
referred to Stern, and reviewed the checks he issued to Plezia to demonstrate
that each check was issued to pay Esquivel for his case running services. He
contended that, when a case (routed through Plezia) was resolved, Stern
would meet with Esquivel, show him the requisite documents as proof of
resolution, and then issue a check to Plezia. He further averred that Esquivel
would then run the check over to Plezia to issue a check back to Esquivel or
his business entities. Stern explained that, after the IRS began investigating
him for tax evasion in 2016, he took actions to cover up his dealings with
Esquivel. He testified that he shredded documents and informed Plezia and
Esquivel of the investigation in Fall 2016. He testified that Plezia informed
him at a holiday party in December 2016 that he had been interviewed by IRS
agents and that he refrained from directly answering their questions. Stern
also recounted that Plezia met with his defense attorneys shortly after.
       Stern further stated that other attorneys he worked with had claimed
that they used funds from Stern to pay clients’ medical bills instead of writing
checks for case running services. Stern testified that Plezia was subpoenaed
by the grand jury and responded to the subpoena by producing a letter dated
August 24, 2010, from Plezia to Stern. At trial, Stern stated that he had
“never seen that document before.” The letter purported to set out “a
proposal for the referral and fee agreement for the BP cases that” Plezia
retained. The search warrant executed on Stern’s law office turned up no
documents related to the BP cases on the firm’s computer systems. Stern
testified that any checks from this period issued to Plezia were illegal
kickbacks to be paid to Esquivel through Plezia. He further opined that it




                                       7
Case: 23-20483        Document: 86-1       Page: 8    Date Filed: 08/22/2024




                                 No. 23-20483


would have been fairly obvious to someone in Plezia’s position, given past
dealings with Esquivel, that this was an illegal kickback scheme.
       Although Plezia maintained that Stern represented that payments
were legitimate third-party financing of Plezia’s mass toxic tort action against
BP, Stern disavowed ever making that representation. Plezia’s BP case
initially involved over 800 clients, and Stern had written $532,000 in checks
from 2011 to 2013. Stern maintained that Esquivel orchestrated the deliveries
of checks with Plezia. He also admitted that he had “no idea” what
information Esquivel gave Plezia regarding the nature of the checks. Stern
further asserted that only $424,000 of the $532,000 was paid to Plezia, with
the remaining $108,000 deposited directly into Esquivel’s accounts in 2013.
       Stern’s defense attorneys, David Gerger and Dean Blumrosen, also
testified against Plezia. Gerger testified that he had interviewed Plezia during
the course of representing Stern and kept extensive notes of their meeting.
The Government then sought to admit the interview notes as business
records and as recorded recollections under Federal Rule of Evidence 803(5)
&amp; (6). Plezia timely objected. The district court determined that it would be
best for the Government to refresh the witness’s recollection with the
documents but not admit them into the record. However, because Gerger
was still unable to adequately recall the 2016 interview with Plezia after
reviewing the notes, the district court allowed the notes and their
accompanying memoranda to be read into evidence over Plezia’s objection.
       The memorandum stated that Plezia sought Stern’s aid to finance his
BP litigation, and that while Plezia thought that they did not have a written
agreement governing the fee schedule, he believed that they orally agreed
upon Stern paying about $500,000. It further stated that Plezia arranged for
Esquivel to do the “legwork” on the cases, coordinating with about 400
plaintiffs living close to the BP plant alleged to emit high levels of benzenes.




                                       8
 Case: 23-20483          Document: 86-1          Page: 9       Date Filed: 08/22/2024




                                       No. 23-20483


Id. Plezia explained that while Esquivel charged his expenses, plus a per
client fee, the BP litigation was ultimately not profitable. The same was done
with Blumrosen’s notes from his interview with Plezia. Blumrosen testified,
based on his notes, that Plezia reached out to Stern to inquire about financing
before Esquivel did. Blumrosen further testified that Plezia failed to provide
him with invoices from his dealings with Stern and Esquivel as promised
during the meeting.
        Over half a dozen employees from Plezia’s and Stern’s law firms also
testified for the prosecution. This included other attorneys and law firm
office managers and staff, including Stern’s law firm’s controller 1—and all
testified that they did not know that Stern had financed Plezia’s BP litigation
or whether Plezia paid Esquivel for his work on the BP litigation after early
2011. For instance, Plezia’s legal assistant, Lilia Sosa, testified that in her six
years working on the BP litigation with Plezia, she never saw Stern at case or
client meetings or heard that Stern financed any of those cases. Stern’s office
controller, Robert Koenig, stated that after Stern’s firm was audited in 2011,
they began to send far more 1099 tax forms out to parties that they contracted
with. Koenig further testified that if Plezia had received a 1099 form for
services rendered, it would be clear that the funds described there would be
income for Plezia and deductible business expenses for Stern. Stern’s
accountant, Stanley Toy, testified to the same.
        Plezia’s accountant, Marcus Dillon, testified that he was never
informed that Stern’s checks from 2011 to 2013 were “pass-through”
payments to Esquivel for case referrals to Stern. Dillon further opined that
Plezia filed “false” income tax returns during 2011, 2012, and 2013, because

        _____________________
        1
          An office controller is the individual responsible for issuing checks on the behalf
of the firm..




                                             9
Case: 23-20483         Document: 86-1          Page: 10     Date Filed: 08/22/2024




                                     No. 23-20483


he treated Stern’s checks as income while also deducting the corresponding
checks that he wrote to Esquivel out of those funds, as business expenses.
Morris testified that he served as a case runner for attorney Roy Abner
(“Abner”) and Stern during that same period. He stated that he solicited
clients for Abner in exchange for cash. Morris stated that he also solicited
clients for Stern, using Abner as a middleman, but testified that he did not
know Plezia or anything about his business. Morris further asserted that
Plezia and Esquivel were not involved in or privy to any payment structures
orchestrated by Stern and Abner. Another case runner in Stern’s network,
Ratcliff, similarly testified that after initially getting paid directly by Stern, he
received “disguised” payments funneled through checks re-directed by
attorney Deborah Bradley, an associate in Stern’s law office. Ultimately,
Ratcliff noted that he also did not know Plezia. 2
       Esquivel also took the stand and testified that he offered case running
services to personal injury attorneys in Houston for three decades. He
described his standard practices: he would purchase accident reports and
then approach victims to get them to seek legal counsel. He stated that he
was initially paid $500 for each case he referred to a personal injury attorney.
He further testified that over time, he would receive a larger sum up front for
referring commercial cases and would also receive a percentage of the
attorney’s fees collected after settlement. Esquivel stated that he set up
nearly half a dozen businesses solely to collect case referral payments from
Stern and other attorneys.
       Esquivel further noted that while he made hundreds of thousands of
dollars through referring cases, he never received a 1099 form from Stern.
       _____________________
       2
         The jury also heard from William Shepherd, a case runner that worked for Plezia
from 2018 to 2021. He testified that Plezia would pay him for leads as a case runner by
checks written to him personally or to one of his business entities.




                                          10
Case: 23-20483       Document: 86-1         Page: 11   Date Filed: 08/22/2024




                                 No. 23-20483


Esquivel further corroborated Stern’s testimony that, during the 2010s, they
switched from making case running payments in cash to checks to “hide”
illegal kickbacks for case running services and “use [the payments] as a
deduction on [Stern’s] tax returns.” He testified that he first connected with
Plezia in 2010 and that Plezia paid him in checks labeled as “website
marketing expense[s]” even though he did not create a website for Plezia’s
firm. Esquivel further explained how he solicited clients for Plezia’s BP
litigation, marketing the cases as very lucrative at a town hall event. He noted
that he referred most of the cases by November 2010, and that he received
his last payment for services on the BP litigation from Plezia in early 2011.
       Esquivel testified that Plezia only worked with attorney Dan
Cartwright on the BP litigation, and that Stern did not provide financing and
was not involved in any other way. Esquivel stated that after addressing the
amounts that Stern owed him in early 2011 for prior underpaid case running
services, they agreed to run the checks through Plezia. He stated that Plezia
agreed to redirect payments from Stern to his business entities as a favor.
Esquivel testified that he did not tell Plezia that the money was from BP
litigation, which had wrapped up by that time, and he did not testify that he
told Plezia the money was for any legitimate business endeavor. He further
stated that he reviewed each check from Stern to Plezia, and that none were
for the BP litigation, even where the deposit referenced BP.
       Esquivel testified that Stern told him that he was under investigation
in 2016. He further averred that they both purchased burner phones to
communicate with each other after Esquivel was contacted by IRS Agent
Robert Simpson (“Simpson”). He stated that they decided to conceal the
payments by telling Simpson that they were designed to finance the BP
litigation. He testified that Plezia was informed of the plan and did not object
to the proposed cover-up.




                                       11
Case: 23-20483       Document: 86-1        Page: 12    Date Filed: 08/22/2024




                                 No. 23-20483


       Simpson testified that he interviewed Plezia on December 7, 2016, at
a coffee shop in Houston and on September 28, 2018, via the telephone.
Simpson recounted the December 7, 2016 meeting in which Plezia stated that
the checks he received from Stern during the relevant period were likely
related to his BP litigation. He noted that Plezia also told him that there were
discrepancies in the dating of payments or checks dated in 2013, years after
his BP litigation ended. Simpson further averred that Plezia informed him
that Esquivel conducted investigative, marketing, and advertising work for
his firm and that he never paid Esquivel any client referral fees.
       Simpson alleged that he had not reviewed Stern’s bank records before
the December 2016 meeting, but that his review of the numerous transactions
between Stern and Plezia raised suspicion of illegitimate payments being
funneled through Plezia. In response to a grand jury subpoena, Plezia opted
to turn over documents to Simpson for review in the Fall 2018. On
September 28, 2018, Simpson interviewed Plezia a second time. Simpson
testified that in that interview, Plezia mentioned an August 24, 2010 letter to
Stern which set out that checks from Stern to Plezia were offered to finance
his BP litigation. He testified that Plezia stated that any checks deposited to
BelMark, a company owned by Esquivel, were issued for the purpose of
paying clients’ medical deposits as a result of Esquivel’s investigative work
on the BP case. Simpson also averred that—while Plezia told him twice
during the September 2018 interview that Esquivel was responsible for
paying medical deposits—other correspondence and records made clear that
there were no medical deposits to be paid at the outset of the case.
       Following the prosecution’s close of its case, Plezia moved for a
judgment of acquittal. He argued that the evidence was insufficient to sustain
his 18 U.S.C. § 371 conspiracy charge and the charge of making false
statements arising from his meeting with Simpson in December 2016. The
district court denied the motion. Plezia then called several witnesses and



                                      12
Case: 23-20483       Document: 86-1         Page: 13   Date Filed: 08/22/2024




                                 No. 23-20483


even took the stand himself. He called Mikal Watts, a personal injury
attorney, as an expert witness opining on toxic tort cases like Plezia’s BP
litigation. Watts explained that while there are ethical ways to acquire clients
in personal injury cases, the method of “barratry” or “case-running” is
broadly considered unethical. However, Watts testified that the rules
prohibiting those methods are “[g]enerally not enforced in” Texas. He
further testified that Plezia was aware of the Texas barratry statute and the
disciplinary rules provision prohibiting client solicitation and sharing
attorney’s fees with non-attorneys.
       Plezia testified that he never discussed case running with Esquivel and
had never paid Esquivel for any cases. He stated that he did not learn of
Esquivel’s case running affairs until he was indicted. He further asserted that
it was not typical to use case runners in his practice and that while several
case investigators he knew turned out to be case runners, they either denied
it when he asked them previously or concealed such activity from him. He
further testified that a few weeks after he began working with Esquivel,
Esquivel told him that Stern would finance his remaining BP benzene cases.
Plezia averred that he then prepared the August 2010 letter after that
conversation. He did note that the letter stated that it was sent “via
facsimile” but did not contain a signature and fax number. Plezia explained
that he was often out of the office during that time period and that, while he
would not have been there to see the fax sent after dictating it,
correspondence would have been faxed when he dictated it, and he knew that
Stern received the letter because he started getting checks for BP expenses
from Stern.
       Plezia asserted that he received invoices from Esquivel, but on cross-
examination, Plezia admitted that the documents he alleges he received
looked different than Esquivel’s invoices to other attorneys. He also admitted
on cross that despite what the August 2010 letter said about using Stern’s



                                       13
Case: 23-20483        Document: 86-1         Page: 14    Date Filed: 08/22/2024




                                   No. 23-20483


payments to cover medical expenses, he never had to pay any medical
expenses or deposits for his BP litigation clients.
       Plezia subsequently renewed his motion for judgment of acquittal and
moved for a new trial which the district court denied on September 14, 2023.
Ultimately, the jury convicted Plezia on all counts. He renewed his motion
after the verdict, challenging the sufficiency of the evidence on all four
counts. The district court denied the motion. At sentencing, the district court
sentenced Plezia to six months and one day in prison, followed by two years
of supervised release. He timely appealed. On October 24, 2023, the district
court granted Plezia’s motion for release on bond during the pendency of his
appeal.
                              II. Discussion
       Plezia raises five assignments of error on appeal. He argues that (1) the
district court abused its discretion in tolling the statute of limitations for
Count Five; (2) there was insufficient evidence to sustain his § 371
conspiracy conviction in Count One; (3) the Government failed to adduce
any evidence of venue to sustain Count Six; (4) the Government failed to
meet its burden of proof as to his § 1519 conviction in Count Seven; and (5)
the district court abused its discretion in allowing Blumrosen and Gerger to
read from their notes from witness interviews with Plezia. We address each
in turn, beginning with the equitable tolling issue.
       a. Equitable Tolling of Count Five
       On appeal, Plezia contends only that equitable tolling is not available
under § 3282 and does not argue that, if equitable tolling were available, its
invocation would have been an abuse of discretion. As the Government
agrees, our review of this contention is de novo. See United States v.
McMillan, 600 F.3d 434, 443-44 (5th Cir. 2010) (“We review the district
court’s fact findings in relation to the statute of limitations for clear error and




                                        14
Case: 23-20483       Document: 86-1         Page: 15    Date Filed: 08/22/2024




                                  No. 23-20483


its legal conclusions de novo.” (internal citation and italics omitted)). “The
purpose of a statute of limitations is to limit exposure to criminal prosecution
to a certain fixed period of time following the occurrence of those acts the
legislature has decided to punish by criminal sanctions.” Toussie v. United
States, 397 U.S. 112, 114 (1970). Section 3282 sets out the general statute of
limitations for federal, non-capital offenses. It provides that:
       Except as otherwise expressly provided by law, no person shall
       be prosecuted, tried, or punished for any offense, not capital,
       unless the indictment is found or the information is instituted
       within five years next after such offense shall have been
       committed.
18 U.S.C. § 3282. Congress has expressly provided for the extension or
tolling of criminal statutes of limitations for the Government to obtain
evidence of an offense from a foreign country, 18 U.S.C. § 3292, during
wartime, 18 U.S.C. § 3287, and during periods where a fugitive flees from
justice, 18 U.S.C. § 3290, among other occurrences. Absent from this list of
exceptions is any word from Congress providing that a global health crisis
suspends a criminal statute of limitations.
       In support of its argument that equitable tolling applies to § 3282, the
Government cites the Third Circuit’s decisions in United States v. Midgley,
142 F.3d 174 (3d Cir. 1998), and United States v. Terlingo, 327 F.3d 216 (3d
Cir. 2003). In Midgley, the Third Circuit confronted the question of whether
equitable tolling applied to allow the reinstatement of charges dismissed
under the defendant’s plea agreement after an intervening change in
Supreme Court precedent. See id. at 181. The Midgley panel noted, in dicta,
that the Third Circuit had “observed that criminal statutes of limitations are
subject to tolling,” id. at 178, but one case it cited for the proposition
addressed one of the express exceptions we have cited above, see United
States v. Levine, 658 F.2d 113, 120 (3d Cir. 1981) (acknowledging that statutes




                                       15
Case: 23-20483        Document: 86-1          Page: 16   Date Filed: 08/22/2024




                                  No. 23-20483


of limitations may be tolled for fugitives), and the other case was a civil case
emphasizing the rights that a civil statute of limitations protects by analogy
to criminal statutes of limitations, see Powers v. Southland Corp., 4 F.3d 223,
233 (3d Cir. 1993). In Midgley, the panel ultimately declined to toll the statute
of limitations to allow the reinstatement of the dismissed charges. 142 F.3d
at 179. In Terlingo, the Third Circuit tolled the time limit to allow the district
court to impose criminal restitution post-conviction more than ninety days
after sentencing. See 327 F.3d at 222.
       The general premise gleaned from the Third Circuit’s determinations
in Terlingo and Midgley is that post-conviction time limits in criminal cases
may be subject to equitable tolling. See 327 F.3d at 222; 142 F.3d at 177–78.
This general premise cannot be applied to override the Supreme Court’s
statement that “a defendant’s right to a fair trial would be prejudiced” by
undue delay of the trial beyond the period of limitation prescribed for the
charge against him. United States v. Marion, 404 U.S. 307, 322 (1971). Thus,
the Government’s arguments and the facts of this case do not eclipse the
plain language of § 3282. See Toussie, 397 U.S. at 114–15 (noting that the
statute of limitations is an expression of Congress’s will to limit a charged
individual’s exposure to criminal prosecution to the time period which it
prescribes).
       Here, the Government alleges that Plezia made materially false
statements to Simpson at an in-person interview on December 7, 2016. Plezia
was first charged with this offense in the Third Superseding Indictment on
January 22, 2022. Thus, the charge was brought over five years after the
alleged offense was committed. Because the applicable statute of limitations
is five years and Congress has provided no express grant to suspend it based
on a global pandemic, the district court erred in denying Plezia’s motion to
dismiss Count Five of the Third Superseding Indictment. Thus, we vacate
Plezia’s conviction under Count Five.



                                         16
Case: 23-20483       Document: 86-1         Page: 17   Date Filed: 08/22/2024




                                  No. 23-20483


       b. Sufficiency of the Evidence for Count One
       Plezia also challenges the sufficiency of the evidence to sustain his
18 U.S.C. § 371 conspiracy conviction. We review an appropriately preserved
sufficiency of the evidence claim de novo. United States v. Brannan, 98 F.4th
636, 638 (5th Cir. 2024). We are limited to reviewing the evidence “in the
light most favorable to the verdict to determine whether a rational trier of fact
could have found that the evidence established the essential elements of the
offense beyond a reasonable doubt.” United States v. Shum, 493 F.3d 390, 391
(5th Cir. 2007). Notably, a court’s review of a jury verdict is “highly
deferential.” United States v. McNealy, 625 F.3d 858, 870 (5th Cir. 2010). To
sustain a conviction under 18 U.S.C. § 371, the Government must prove three
elements: “(1) an agreement between two or more people to pursue an
unlawful objective; (2) the defendant’s knowledge of the unlawful objective
and voluntary agreement to join the conspiracy; and (3) an overt act by one
or more of the conspirators in furtherance of the conspiracy’s objective.”
United States v. Porter, 542 F.3d 1088, 1092 (5th Cir. 2008) (citing
18 U.S.C. § 371).
       Plezia raises three arguments as to the insufficiency of the evidence
supporting his § 371 conviction: (1) insufficient evidence as to an agreement
to illegally reduce Stern’s tax liability, (2) insufficient evidence that Plezia
knew that the case running sums were not truly tax-deductible under
26 U.S.C. § 162(c)(2), and (3) a conspiracy variance claim. We begin first
with his argument as to the agreement.
              i. Agreement
       Plezia argues that there is no evidence that he “specifically intended
to obstruct the IRS’s lawful functions concerning Stern’s taxes.” But Plezia
can point to no binding precedent that requires this evidence in order to
sustain a § 371 conviction. His argument also fails to account for the




                                       17
Case: 23-20483       Document: 86-1        Page: 18    Date Filed: 08/22/2024




                                 No. 23-20483


established principle that “[a]n agreement may be inferred from concert of
action, voluntary participation may be inferred from a collection of
circumstances, and knowledge may be inferred from surrounding
circumstances.” United States v. Chon, 713 F.3d 812, 818–19 (5th Cir. 2013).
At the outset, we note that this court has long held that “[d]irect evidence of
a conspiracy is unnecessary; each element may be inferred from circumstantial
evidence.” United States v. Casilla, 20 F.3d 600, 603 (5th Cir. 1994) (emphasis
added). Based on our close review of the record, we conclude the jury was
presented with sufficient circumstantial evidence from various sources
suggesting that Plezia tacitly agreed to join in an illegal enterprise to
underreport taxable income.
       Stern and Esquivel directly testified as to the how their scheme of
kicking back illegal referral fees to non-attorneys was conducted. Esquivel
testified that Plezia did not object to the payment scheme when he was told
what the checks were for. His testimony that Plezia worked with case runners
for his own practice provides further circumstantial evidence that he
understood that ill-gotten gains would be excluded from taxable income
somewhere in the chain of transactions as a result of his participation in this
scheme. The jury was entitled to assign minimal weight to Plezia’s testimony
that he never worked with case runners and that he was never told that the
purpose behind the payments was illegal because the testimony of several
other witnesses contradicted his testimony and prior representations to IRS
agents. See United States v. Stacey, 896 F.2d 75, 78 (5th Cir. 1990) (quoting
United States v. Holbert, 578 F.2d 128, 130 (5th Cir. 1978)).
       Plezia’s argument partially relies on the Eleventh Circuit’s analysis
from United States v. Kottwitz, 614 F.3d 1241 (11th Cir. 2010). In Kottwitz, the
court held that, to sustain a § 371 conviction, the prosecution must
demonstrate “that each alleged conspirator knew that the scheme would
culminate in the filing of false tax returns.” 614 F.3d at 1265. However, the



                                      18
Case: 23-20483        Document: 86-1          Page: 19    Date Filed: 08/22/2024




                                   No. 23-20483


Kottwitz court also noted that the purpose of filing false tax returns need not
be the only object of the conspiracy and that the prosecution may prove the
existence of common goals through circumstantial evidence. Id.; see also
United States v. Hough, 803 F.3d 1181, 1188–89 (11th Cir. 2015) (holding
same). It is possible on this record that a rational jury could have concluded
through the circumstantial evidence presented that Plezia, Stern, and
Esquivel shared common goals, including the underreporting of illicit
income. Our review of a jury’s verdict is “highly deferential.” United States
v. Fisch, 851 F.3d 402, 406 (5th Cir. 2017). Given this deference to the jury’s
verdict, we conclude that Plezia has failed to demonstrate that a rational jury
could not find that he joined in a conspiracy with the goal of reducing Stern’s
reported taxable income in violation of § 371.
               ii. Scienter
       Plezia also argues that the Government “failed to prove beyond a
reasonable doubt that” Plezia knew that any funneled payments to Esquivel
were non-deductible as illegal kickbacks under 26 U.S.C. § 162(c)(2). We are
unpersuaded. Section 162 provides that no individual may deduct as a
business expense any direct or indirect kickback payment prohibited by a
“generally enforced” state law “subject[ing] the payor to criminal penalty or
the loss of a license or privilege to engage in a trade or business.” Id. § 162(c)(2)
(emphasis added). Based on our review of the record, the jury was presented
with sufficient evidence supporting its conclusion that Plezia likely knew that
the sums paid to him were not deductible under § 162.
       Dillon, Plezia’s accountant, testified that he thought that Plezia’s
checks to Esquivel’s companies were business expenses. He further testified
that if he had known that the sums that Plezia paid to Esquivel were for illegal
case referral fees, he believed those sums should not have been reported as
legal fee income from Stern or as an “advertising expense for the law firm”




                                         19
Case: 23-20483       Document: 86-1        Page: 20   Date Filed: 08/22/2024




                                 No. 23-20483


provided by Esquivel. Several witnesses also testified that anyone could
discern that a certain sum would be deducted from receiving a 1099 form that
the issuer or payor could likely seek to deduct those sums paid as business
expenses on their income tax forms.
       Plezia alternatively argues that the Texas Penal Code § 38.12 and
Rules 5.04 and 7.03 of the TDRPC are not “generally enforced” state laws
that bar the deduction of kickback sums. This argument also fails. IRS
regulations further explain that the “generally enforced” provisions of
§ 162(c)(2) sets out a presumption that a state law is generally enforced, but
that presumption may be overcome “if it is never enforced or the only
persons normally charged . . . are infamous or those whose violations are
extraordinarily flagrant.” 26 C.F.R. § 1.162-18(b)(3). Furthermore, the
Supreme Court of Texas has made clear that an attorney who violates the
TDRPC may be disbarred, have his license suspended, or be reprimanded
under the bar’s standard grievance procedure. See In re Caballero, 272 S.W.3d
595, 597 (Tex. 2008); In re Lock, 54 S.W.3d 305, 307 (Tex. 2001). The
reviewing body for such grievances may be a district court or a disciplinary
body within the bar. Tex. R. Disciplinary P. 2.13–.18; 3.09–.10; In re
Mercier, 242 S.W.3d 46, 47 (Tex. 2007) (per curiam). As the Government
notes, this dual enforcement system that carries penalties up to and including
disbarment qualifies as a generally enforced state law that is enforced
regardless of whether violations are “infamous or . . . extraordinarily
flagrant.” See 26 C.F.R. § 1.162-18(b)(3).
       While Plezia and Watts testified for the defense that what Plezia did
was immoral, but not routinely enforced by disbarment or jailtime, the jury
also heard from Stern, Morris, Moncriff, both Stern’s and Plezia’s
accountants, and Esquivel, who all testified to the fact that the relevant
TDRPC and Texas Penal Code provisions carry the force of law. On appeal,
Plezia points to no evidence, statistics, or prior cases that demonstrate that



                                      20
Case: 23-20483       Document: 86-1           Page: 21   Date Filed: 08/22/2024




                                    No. 23-20483


the jury’s decision to reject his evidence offered at trial resulted from
unreasonable inferences to merit overturning the jury’s verdict. See United
States v. Umawa Oke Imo, 739 F.3d 226, 235 (5th Cir. 2014) (holding that the
court must view the evidence and all reasonable inferences in the light most
favorable to the jury’s verdict). For these reasons, we hold that a rational jury
could have found beyond a reasonable doubt that Plezia joined in a conspiracy
with an object of unlawfully reducing reported taxable income for those
involved in the scheme. See id.              iii. Variance Claim
       Plezia’s last argument as to Count One is a variance claim challenging
the sufficiency of the evidence supporting the jury’s finding that Plezia and
numerous other defendants were members of the same conspiracy. See
United States v. Fields, 72 F.3d 1200, 1210 (5th Cir. 1996). Essentially, we are
presented with the question of whether the evidence at trial was sufficient to
demonstrate a single broad conspiracy “wheel” orchestrated by Stern as the
“hub” and with Esquivel and Plezia as one “spoke.” See United States v.
Richerson, 833 F.2d 1147, 1152–53 (5th Cir. 1987). While “counting the
number of conspiracies proved is a difficult exercise,” this court has stated
the relevant factors are “(1) the existence of a common goal, (2) the nature
of the scheme[,] and (3) overlapping of participants in the various dealings.”
Id. at 1153 (citing United States v. Tilton, 610 F.2d 302, 307 (5th Cir. 1987)).
We have further noted that the first criteria of a “common goal” is incredibly
broad such that a “common goal is shown when the alleged co-conspirators
all sought ‘personal gains’ through some participation in a broad conspiracy
scheme.” United States v. Beacham, 774 F.3d 267, 273 (5th Cir. 2014).
       Here, there is ample evidence for the jury to reasonably infer that
Plezia, Esquivel, and Stern “shared the common goal of deriving personal
gain through” concealing illegal case runner payments. See id. at 273–74. As




                                         21
Case: 23-20483         Document: 86-1          Page: 22     Date Filed: 08/22/2024




                                    No. 23-20483


to the second factor, we have said that a single conspiracy is inferred “where
the activities of one aspect of the scheme are necessary or advantageous to
the success of another aspect or to the overall success of the venture.” United
States v. Morris, 46 F.3d 410, 415 (5th Cir. 1995). That element is arguably
satisfied here as the jury could reasonably infer that the performance of one
“spoke” of the “wheel,” i.e., Plezia’s and Esquivel’s successful, undetected
funneling of case running payments, inured to Stern’s benefit. The jury could
also infer from the evidence that the scheme furthered the case running
relationships that Stern had with other involved case runners and attorneys
and netted more illicit tax-exempt income. Thus, the jury could reasonably
conclude that the nature of the scheme here also indicates a single conspiracy.
See Beacham, 774 F.3d at 274. The last factor also weighs in favor of
supporting the jury’s finding of a single conspiracy. We have stated that the
overlap of participants factor carries “no requirement that every member
must participate in every transaction to find a single conspiracy.” Morris, 46
F.3d at 416. However, Plezia’s argument that his lack of knowledge of the
others involved in the case is insufficient to demonstrate that the jury
irrationally found one broad conspiracy here. This is especially so in light of
this court’s consistent precedent that each member need not participate in
every transaction in the conspiracy. See United States v. Shows Urquidi, 71
F.4th 357, 381–82 (5th Cir. 2023). 3
       Notably, Plezia did not request a multiple conspiracy jury instruction
which would have explicitly directed the jury to acquit if they found that he
was involved in a conspiracy other than the conspiracy charged in the
indictment. See Beacham, 774 F.3d at 274. (“The district court instructed the

       _____________________
       3
        The Government’s theory, which the jury accepted here, has been approved as
demonstrating a significant overlap, even where the participants work through a single
“key man” or “hub” of the “wheel.” See Richerson, 833 F.2d at 1154 (quotation omitted).




                                          22
Case: 23-20483       Document: 86-1         Page: 23   Date Filed: 08/22/2024




                                  No. 23-20483


jury that if it found that a defendant was in a conspiracy but not in the
conspiracy alleged in the indictment, then it must acquit.”). We have
consistently held that where a jury finds that a single conspiracy exists, we
owe extreme deference to the jury’s verdict. See id. Viewing the evidence in
the light most favorable to the verdict, we conclude that the evidence was
sufficient for the jury to find that Plezia knowingly participated in a single
conspiracy to defraud the United States through the underreporting of
income and concealment of illegal case running kickback payments.
       c. Evidence of Venue to Sustain Count Six
       Plezia seeks to overturn his second 18 U.S.C. § 1001 conviction based
on insufficient evidence that he made materially false statements while within
the Southern District of Texas. Notably, the Government “need only show
the propriety of venue by a preponderance of the evidence, not beyond a
reasonable doubt.” United States v. Strain, 396 F.3d 689, 692 &amp; n.3 (5th Cir.
2005). A defendant “must assert a challenge to venue prior to trial if the
indictment or circumstances known to the defendant make such a challenge
apparent.” Rodriguez-Lopez, 756 F.3d at 430 (citing United States v. Carreon–
Palacio, 267 F.3d 381, 392 (5th Cir. 2001)). This court has also previously
determined that “[i]f a venue challenge is not apparent before trial, a
defendant must bring a claim of improper venue to the district court’s
attention at the close of the United States’ evidence.” United States v.
Rodriguez-Lopez, 756 F.3d 422, 430 (5th Cir. 2014).
       Here, the Government asserts that Plezia has waived his objection to
venue because he did not raise the issue until after trial. We agree. See United
States v. Rodriguez-Lopez, 756 F.3d 422, 430 (5th Cir. 2014) (“A defendant
waives his right to contest venue on appeal, however, when his motion for
acquittal fails to put the court and the United States on notice of the challenge
to venue.”). Although Plezia concedes that he did not raise the issue of venue




                                       23
Case: 23-20483       Document: 86-1        Page: 24    Date Filed: 08/22/2024




                                 No. 23-20483


until after trial and that, under our circuit precedent, he has waived the
challenge on appeal, he argues that our precedent is incorrect and that we
should review his challenge under a plain error standard of review.
       Assuming arguendo we were to apply a plain error standard of review
to Plezia’s venue challenge, his claim would still fail. For insufficient
evidence of a venue element to rise to the level of plain error, there must have
been a “manifest miscarriage of justice.” United States v. Phillips, 477 F.3d
215, 219 (5th Cir. 2007). Plezia has not demonstrated a manifest miscarriage
of justice here. 18 U.S.C. § 3237 provides that, except where prescribed by
statute, “any offense against the United States begun in one district and
completed in another, or committed in more than one district, may be
inquired of and prosecuted in any district in which such offense was begun,
continued, or completed.” 18 U.S.C. § 3237. And as we have long held, “a
jury may infer venue from circumstantial evidence in the record as a whole.”
Id. (citing United States v. White, 611 F.2d 531, 534–35 (5th Cir. 1980)).
       In this case, all of Plezia’s conduct occurred in Houston, Texas, and
Simpson testified that he and Plezia met in person for their first interview at
a coffee shop in Houston. Furthermore, Simpson worked out of the IRS’s
offices in Houston and all of his investigative work occurred within the
Southern District of Texas. The jury was entitled to infer that Plezia had
made the false statement while within the district from the evidence and
testimony adduced at trial. See id. Based on this record, the jury reasonably
concluded that Plezia was in the Southern District of Texas when the false
statements about Plezia’s BP litigation financing agreement with Stern were
made during the September 28, 2018 phone interview. Thus, he cannot
demonstrate a manifest miscarriage of justice meriting the reversal of his
§ 1001 conviction based on venue under even a plain error standard of review.
       d. Obstruction of a Federal Investigation in Count Seven




                                      24
Case: 23-20483       Document: 86-1        Page: 25   Date Filed: 08/22/2024




                                 No. 23-20483


       Plezia further argues that his conviction for obstruction of a federal
investigation under 18 U.S.C. § 1519 was supported by insufficient evidence.
Because Plezia preserved this argument, we review the issue de novo. See
Brannan, 98 F.4th at 638. He argues that the Government failed to satisfy its
burden on the jurisdictional element of § 1519 because he submitted the
alleged fabricated records used in support of his conviction at the request of
the grand jury, which is not a federal agency or department contemplated by
§ 1519. In United States v. McRae, we described that § 1519 criminalizes three
instances where a defendant acts with intent to obstruct any investigation—
formal or informal—within the jurisdiction of a federal agency:
       (1) when a defendant acts directly with respect to the
       investigation or proper administration of any matter, that is, a
       pending matter, (2) when a defendant acts in contemplation of
       any such matter, and (3) when a defendant acts in relation to
       any such matter.
702 F.3d 806, 837 (5th Cir. 2012) (citations omitted). We have further held
that to sustain a § 1519 conviction, the defendant need not know that the
investigation is ongoing or even imminent. See United States v. Moore, 708
F.3d 639, 649 (5th Cir. 2013). Section 1519 provides that:
       Whoever knowingly alters, destroys, mutilates, conceals,
       covers up, falsifies, or makes a false entry in any record,
       document, or tangible object with the intent to impede,
       obstruct, or influence the investigation or proper
       administration of any matter within the jurisdiction of any
       department or agency of the United States or any case filed
       under title 11, or in relation to or contemplation of any such
       matter or case, shall be fined under this title, imprisoned not
       more than 20 years, or both.
18 U.S.C. § 1519 (emphasis added). We have held that the clause “any matter
within the jurisdiction of any department or agency of the United States”




                                      25
Case: 23-20483       Document: 86-1        Page: 26    Date Filed: 08/22/2024




                                 No. 23-20483


prescribes a jurisdictional relationship “between the United States and the
matter being obstructed.” McRae, 702 F.3d at 835.
       Previously, both the Supreme Court and this court have broadly
interpreted the statutory language “in relation to” or “relating to” based on
its common use. See Morales v. Trans World Airlines, 504 U.S. 374, 383
(1992); United States v. Hubbard, 480 F.3d 341, 347 (5th Cir. 2007) (citing
Morales, 504 U.S. at 383). In United States v. Moore, 71 F.4th 392, 399 (5th
Cir. 2023), the panel incorporated circuit and Supreme Court precedent to
read 18 U.S.C. § 2251(a) as prohibiting the sexual exploitation of a minor,
broadly. The Moore panel noted that the ordinary meaning of “relating to”
means “to stand in some relation; to have bearing or concern; to pertain;
refer; to bring into association with or connection with.” Id. at 400 (citations
omitted) (cleaned up). In affirming the defendant’s child exploitation
conviction, the panel further stated that the phrase “relating to the sexual
exploitation of children” is read in a broad sense to mean “any criminal
sexual conduct involving children.” Id. at 400.
       Applying the ordinary meaning of the statute’s “in relation to” clause
here, we conclude that § 1519 criminalizes obstructive acts germane to or
arising from a federal agency’s investigation. We further hold that Plezia’s
submission of a false record to Simpson falls within § 1519’s ambit because
the grand jury’s request did “pertain,” “stand in some relation,” or “have
bearing or concern,” to the IRS’s investigation. See id. This conclusion
accords with those of the Eighth and Eleventh Circuits, which have read
§ 1519’s “in relation to” language in this manner and denied arguments that
false records either produced at the request of the grand jury or discovered
through the execution of a search warrant do not qualify as obstructive
conduct under § 1519. See United States v. Hoffman-Vaile, 568 F.3d 1335, 1343
(11th Cir. 2009); United States v. Yielding, 657 F.3d 688, 710–14 (8th Cir.




                                      26
Case: 23-20483         Document: 86-1        Page: 27    Date Filed: 08/22/2024




                                   No. 23-20483


2011). We hold that the jury properly found that Plezia obstructed a federal
investigation in violation of 18 U.S.C. § 1519.
         e. Blumrosen’s and Gerger’s Testimony
         A district court’s decision to admit or reject evidence offered at trial
is reviewed for abuse of discretion where appropriately preserved. O’Malley
v. U.S. Fidelity &amp; Guar. Co., 776 F.2d 494, 500 (5th Cir. 1985). A
misapplication of law generally constitutes an abuse of discretion. See RSR
Corp. v. Int’l Ins. Co., 612 F.3d 851, 859 (5th Cir. 2010). Where this court
holds that the district court abused its discretion in its evidentiary ruling, the
district court’s determination will not be reversed unless the appellant
identifies that the challenged ruling affected the appellant’s substantial
rights. E.R. v. Spring Branch Indep. Sch. Dist., 909 F.3d 754, 763 (5th Cir.
2018).
         Plezia contends that the district court abused its discretion by allowing
Blumrosen and Gerger to read from their interview notes because the notes
contained inadmissible hearsay. Even if the decisions to allow Gerger and
Blumrosen to testify with the aid of their notes were error, it constitutes
harmless error. The overwhelming amount of evidence outside of Gerger’s
and Blumrosen’s testimony—spanning a fifteen-day trial—suggests that any
error suffered was harmless. See, e.g., United States v. Judon, 567 F.2d 1289,
1294–95 (5th Cir. 1978) (holding that a clear error to admit a document under
Rule 803(5) would not require a new trial “because the proof of guilt on this
case was so overwhelming that this latter evidentiary error would be harmless
beyond a reasonable doubt”). This court has held that alleged evidentiary
errors in such circumstances constitute harmless error where there is
substantial evidence tending to prove guilt from a voluminous record. See
United States v. Greenlaw, 84 F.4th 325, 352 (5th Cir. 2023); United States v.
Skilling, 638 F.3d 480, 488 (5th Cir. 2011). Thus, we hold that the district




                                        27
Case: 23-20483      Document: 86-1        Page: 28   Date Filed: 08/22/2024




                                No. 23-20483


court’s decisions to allow Gerger and Blumrosen to testify with the aid of
their interview notes does not require overturning Plezia’s convictions.
                           III. Conclusion
       For the foregoing reasons, we VACATE Plezia’s judgment of
conviction as to Count Five because the statute of limitations had run and
remand with instructions to dismiss Count Five with prejudice. We
AFFIRM Plezia’s judgments of conviction as to all other Counts appealed.




                                     28
